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4
5    Attorney for Defendant
     TIFFANY BROWN
6
7                       IN THE UNITED STATES DISTRICT COURT
8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11   UNITED STATES OF AMERICA,       )     No. 2:11-cr-00190-MCE
                                     )
12                  Plaintiff,       )
                                     )     (Amended) STIPULATION AND ORDER
13        v.                         )     VACATING DATE, CONTINUING CASE,
                                     )     AND EXCLUDING TIME
14   NICHOLAS RAMIREZ and            )
     TIFFANY BROWN,                  )
15                  Defendants.      )     Date   August 25, 2011
                                     )     Time: 9:00 a.m.
16   _______________________________ )     Judge: Hon. England
17
18        IT IS HEREBY STIPULATED by and between Assistant United States
19   Attorney Jason Hitt, Counsel for Plaintiff, and Attorney Dina L.
20   Santos, Counsel for Defendant Tiffany Brown; Attorney Michael Bigelow,
21   Counsel for Nicholas, that the status conference scheduled for June 23,
22   2011, be vacated and the matter be continued to this Court's criminal
23   calendar on August 25,2011,at 9:00 a.m. for further status.
24        This continuance is requested by the defense in order to permit
25   counsel to continue in negotiations with the prosecution in attempt to
26   reach a resolution, meet with the clients to discuss various
27   resolutions, and to review discovery.
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1          IT IS FURTHER STIPULATED that time for trial under the Speedy
2    Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
3    3161(h)(7)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
4    ends of justice served in granting the continuance and allowing the
5    defendant further time to prepare outweigh the best interests of the
6    public and the defendant in a speedy trial.
7          The Court is advised that all counsel have conferred about this
8    request, that they have agreed to the August 25, 2011 date, and that
9    all counsel have authorized Ms. Santos to sign this stipulation on
10   their behalf.
11         IT IS SO STIPULATED.
12   Dated: June 20, 2011                     /S/ Dina L. Santos
                                             DINA L. SANTOS
13                                           Attorney for
                                             Tiffany Brown
14
15   Dated: June 20, 2011                     /S/ Michael Bigelow
                                             MICHAEL BIGELOW
16                                           Attorney for
                                             Nicholas Ramirez
17
18   Dated: June 20, 2011                     /S/ Jason Hitt
                                             JASON HITT
19                                           Assistant United States Attorney
                                             Attorney for Plaintiff
20
21                                      O R D E R
22         IT IS SO ORDERED.
23    Dated: June 21, 2011
24
25                                         _____________________________
                                           MORRISON C. ENGLAND, JR.
26                                         UNITED STATES DISTRICT JUDGE

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     Stipulation and Order                   2
